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                                       ORDERED.

         Dated: February 09, 2017




                           UNITED STATES BANKRUPTCY COURT
                              MIDDLE DISTRICT OF FLORIDA
                                   ORLANDO DIVISION

In re:

CHRISTINE LYNNE QUATTRY,                             Case No. 6:15-bk-08657-CCJ

      Debtor.                                        Chapter 13
______________________________/

   AGREED ORDER CONTINUING FEBRUARY 14, 2017 HEARING ON DEBTOR’S
      OBJECTION TO PROOF OF CLAIM NO. 7 OF EDUCATIONAL CREDIT
                    MANAGEMENT CORPORATION

          THIS CAUSE came before the Court without hearing on the Educational Credit

Management Corporation’s Agreed Motion to Continue February 14, 2017 Hearing on

Objection to Claim (the “Agreed Motion”) (D.E. #102). The Court, having reviewed the Agreed

Motion, being advised that Pro Se Debtor Christine Lynne Quattry (“Debtor”) agrees to the relief

requested in the Agreed Motion, good cause appearing, and being otherwise duly advised in the

premises, it is

          ORDERED as follows:

          1.      The Agreed Motion is Granted.
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          2.           The hearing scheduled for February 14, 2017 at 2:00 p.m. on the Debtor’s

Objection/Opposition to Educational Credit Management Corporation (ECMC) Proof of Claim

(D.E. #44) and the Response to Debtor’s Objection / Opposition to Educational Credit

Management Corporation (ECMC) Proof of Claim (D.E. #60) is continued to May 9, 2017 at

2:45 p.m. in Courtroom 6D, George C. Young United States Courthouse, 400 West Washington

Street, Orlando, Florida.

                                             #       #     #

Copies furnished to:

John D. Eaton, Esq. (Attorney Eaton is hereby directed to serve a copy of this Order on the Debtor
within three (3) business days and to file a Certificate of Service with the Court.)


4810-9029-3313, v. 1




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